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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

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                                                               :   ECF CASE
 HOWMEDICA OSTEONICS CORP., a                                  :
 subsidiary of STRYKER CORPORATION, a                          :   Civ. A. No. ______________
 New Jersey corporation,                                       :
                                                               :
                   Plaintiff,                                  :
                                                               :            COMPLAINT
          - against -                                          :
                                                               :
 WILLIAM LEWERS, an individual, LUCAS                          :
 KESSLER, an individual, PAUL CARON, an                        :
 individual, ALLISON HOGGE, an individual,                     :
 DAVID HYLAND, an individual, and KG                           :
 SURGICAL & ASSOCIATES, INC., a Florida                        :
 corporation.                                                  :
                                                               :
                   Defendants.                                 :
                                                               :
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        1.       Stryker Spine, a division of Plaintiff Howmedica Osteonics Corp. (“Howmedica”)

which is a subsidiary of Stryker Corporation (hereinafter collectively “Stryker Spine”), brings

this action against KG Surgical & Associates, Inc. (“KG”), a former distributor of Stryker Spine

products, KG’s two principal agents, William Lewers (“Lewers”) and Lucas Kessler (“Kessler”)

(collectively, “KG Individual Defendants”), and KG’s sales representatives, Paul Caron

(“Caron”), Allison Hogge (“Hogge”) and David Hyland (“Hyland”) for: (i) breach of contract as

a result of the unlawful termination of the distributor agreement, violation of post-contractual
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obligations and failure to repay a financial assistance loan; (ii) tortious interference with

contract; (iii) tortious interference with business relations; and (iv) unfair competition.

       2.      KG, through its principals, Lewers and Kessler, negotiated and executed a

comprehensive 40 page Sales and Representative Agreement (the “Agreement”) pursuant to

which it became the exclusive distributor of Stryker Spine products with a specified list of

doctors and healthcare facilities in northern Florida (the “North Florida Region”) for an initial

period of three years, from February 1, 2019 through January 31, 2022.


       3.      KG retained defendants Caron, Hogge and Hyland as well as Robert Triglia

(collectively “KG Sales Representatives”) to sell Stryker Spine products and service Stryker

Spine’s customers in the North Florida Region.


       4.      The Agreement provided a procedure pursuant to which KG could terminate the

Agreement during the initial three year term --- namely, it required KG to provide notice of any

material breach by Stryker Spine of the Agreement’s terms and thereafter Stryker Spine had 30

days to cure any alleged material breach cited by KG. If Stryker Spine failed to remedy the

alleged material breach within the 30 day window, then KG could lawfully terminate the

contract.


       5.      On August 31, 2020, Lewers and Kessler abruptly and without notice or citing to

any breach (much less a material breach) of the Agreement terminated KG’s contract with

Stryker Spine, effective immediately.


       6.      Immediately after terminating KG’s contract with Stryker Spine, KG, Lewers and

Kessler entered into a distributor agreement with Alphatec Spine, Inc. (“Alphatec”), a direct

competitor of Stryker Spine, and began soliciting Stryker Spine’s customers, surgeons and


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hospitals in the North Florida Region to use Alphatec products in place of Stryker Spine

products.


       7.      Shortly thereafter, Hogge, Hyland and Caron likewise began servicing former

Stryker Spine surgeons and hospitals in the North Florida Region on behalf of Alphatec. Upon

information and belief, Lewers and Kessler solicited these representatives to breach their post-

contractual obligations owed to Stryker Spine.


       8.      When Lewers and Kessler terminated the Agreement, Triglia left Stryker Spine to

become an independent seller of spinal products on behalf of various Stryker Spine competitors.


       9.      KG, Lewers and Kessler are not only in breach of the three year term set forth in

the Agreement with Stryker Spine, but they are also in breach of their agreement not to compete,

solicit customers or solicit the KG Sales Representatives for one year after the end of the three

year term Agreement. KG, Lewers and Kessler have likewise failed to repay the loan assistance

payments provided by Stryker Spine during the COVID-19 pandemic.


       10.     Due to the unlawful behavior of KG, the KG Individual Defendants and the KG

Sales Representatives, Stryker Spine’s relationships with surgeons and healthcare facilities in the

North Florida Region have been damaged, Stryker Spine’s confidential information has been

compromised and Stryker Spine has lost (and will continue to lose) revenues and profits derived

from spine product sales in the North Florida Region.

       11.     Stryker Spine has demanded that KG, Lewers and Kessler cease and desist from

their unlawful behavior, but they have refused to do so.




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                                              PARTIES

          12.   Howmedica Osteonics Corp. is a corporation organized and existing under the

laws of the State of New Jersey, with its principal place of business in Mahwah, New Jersey.

          13.   KG Surgical & Associates, Inc. is a corporation organized and existing under the

laws of the State of Florida.

          14.   Kessler is a citizen of the state of Florida.

          15.   Lewers is a citizen of the state of Florida.

          16.   Caron is a citizen of the state of Florida.

          17.   Hogge is a citizen of the state of Florida.

          18.   Hyland is a citizen of the state of Florida.

                                  JURISDICTION AND VENUE

          19.   This Court has original jurisdiction over this action under 28 U.S.C. § 1332

because the parties are citizens of different states, and the matter in controversy exceeds

$75,000.00 excluding interest and costs.

          20.   This Court has personal jurisdiction over KG, the KG Individual Defendants,

Caron, Hogge and Hyland, and venue is proper in this District under 28 U.S.C. § 1391(a),

because they all contractually consented to jurisdiction of the federal and state courts in New

Jersey.

                          EVENTS GIVING RISE TO THIS ACTION

A. Stryker Spine’s Business

          21.   Howmedica, through its division Stryker Spine, is a global leader in the

development, manufacture and sale of spinal implants, instruments, and related products and

services.




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       22.     Stryker Spine invents, designs, manufactures and sells a full range of spinal-

related implants and products which make surgeries and recoveries simpler, faster and more

effective.

       23.     Stryker Spine products have broad appeal and acceptance in the marketplace and

among the spinal surgery community.

       24.     The spinal surgery industry is highly competitive, and Alphatec is one of Stryker

Spine’s direct competitors for spinal implants and related products.

       25.     To sell its spinal implants and related products, Stryker Spine relies heavily on

distributors that it contracts with, and the agents and sales representatives of those distributors, to

cultivate, on Stryker Spine’s behalf, relationships with surgeons and healthcare facilities.

       26.     In addition to cultivating and growing relationships with surgeons in a certain

territory, Stryker Spine’s distributors and the sales representatives who worked for them, also

provide technical support and assistance to surgeons during surgeries, showcase Stryker Spine’s

products, and advise surgeons on Stryker Spine’s highly specialized and state-of-the-art spinal

implants and related products.

B. KG’s, Lewers’ and Kessler’s Contractual Relationship with Stryker Spine

       27.     KG is a spinal product distributor created by its principal agents, Lewers and

Kessler. On February 22, 2020, KG, Lewers and Kessler entered into a comprehensive 40 page

three-year Sales and Services Representative Agreement (“Agreement”) with Stryker Spine to be

exclusive distributor of Stryker Spine products to a list of doctors and healthcare facilities in the

North Florida Region.

       28.     On September 18, 2019, KG, Lewers and Kessler executed an amendment to the

Agreement that went into effect as of October 1, 2019, and which included a revised and




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expanded list of doctors and healthcare facilities within the North Florida Region for marketing

and selling Stryker Spine products (“Amendment”).

        29.     Both the Agreement and Amendment use the term “Stryker Spine” which is

defined as a division of Howmedica Osteonics Corp.

        30.     According to the terms of the Agreement, Stryker Spine provided to KG and the

KG Individual Defendants the “exclusive right to sell certain Spine Products” to the listed

doctors and healthcare facilities in their territory.

        31.     In addition, under the terms of the Agreement, Stryker Spine committed to

engaging KG and the KG Individual Defendants to “market, promote and solicit orders for

[Stryker] Products” and “provide technical and other field support to medical service providers,

including physicians and hospitals.”

        32.     As principals of KG, Lewers and Kessler had responsibility for the Stryker Spine

clients in their territory, which was the North Florida Region. As part of this responsibility,

Lewers and Kessler negotiated dozens of contracts with Stryker Spine customers, retained KG

Sales Representatives to market, sell and promote Stryker Spine products, and serviced key

Stryker Spine customers.

    C. Post-Contractual Obligations Owed to Stryker Spine

        33.     The Agreement between Stryker Spine on the one hand, and Lewers and Kessler,

on behalf of themselves and KG on the other, contains certain reasonable post-contractual

obligations owing to Stryker Spine.

        34.     The narrowly tailored post-contractual restrictive covenants are designed to

protect Stryker Spine’s goodwill, long standing customer relationships, sales representative

relationships and Confidential Information, which is defined as follows:




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                   information disclosed to Representative, Representative Affiliates
                   or any Workforce Member or known to Representative,
                   Representative Affiliates or any Workforce Member as a
                   consequence of or through the performance of Representative’s or
                   Principal’s obligations, as applicable, under this Agreement
                   (including, without limitation, information conceived, originated,
                   discovered or developed by Representative, Principal,
                   Representative Affiliate, or any Workforce Member), not generally
                   known in the industry, about Stryker Spine’s business, processes,
                   apparatus, products, research, research programs, trade secrets,
                   customers, customer lists, supplier and vendor identities, customer
                   requirements, know how or intellectual property, marketing,
                   pricing, financial data, forecasts, business plans, strategies or other
                   confidential or proprietary information, and (ii) all terms, including
                   financial terms, and conditions of this Agreement.

(Agreement, ¶11(b)(1)).

        35.        The Agreement explicitly prohibits the disclosure of Confidential Information:

                   During the Term and after any expiration or termination of this
                   Agreement, Representative and Principal shall not (and shall
                   ensure that each Representative Affiliate and Workforce Member
                   does not) at any time directly or indirectly remove, possess, utilize
                   or disclose to any individual, corporation, partnership or other
                   entity any confidential information or trade secrets of or relating to
                   Stryker Spine.
(Id.)

        36.        The Agreement also contains several post-contractual restrictions that Lewers and

Kessler agreed to abide by for one year after the Agreement’s termination (“Restricted Period”).

(Id. at ¶11(a)).

        37.        Lewers and Kessler promised that during the Restricted Period they would not, in

any capacity, directly or indirectly, represent, market, distribute, solicit orders for, sell or provide

services with respect to (i) any products which are competitive with any products or services of

Stryker Spine (collectively, “Competitive Products”); (ii) any ancillary lines of medical devices

or implant products (“Ancillary Lines”), regardless of whether or not such Ancillary Lines are

Competitive Products; and (iii) other products or services. (Id. at ¶11).



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       38.       Lewers and Kessler also agreed during the Restricted Period not to directly or

indirectly “divert, entice or otherwise take away” from Stryker Spine the business or patronage

of any customers in the North Florida Region or any customers that were serviced by the KG

Individual Defendants or any KG sales representatives within two years of the termination of the

Agreement. (Id. at ¶11(a)(ii)).

       39.       Lewers and Kessler further agreed during the Restricted Period not to work for or

render services directly to a competitor of Stryker Spine or to solicit or induce any person

engaged as an employee, independent contractor or agent of KG or Stryker Spine to terminate his

or her employment or business relationship with Stryker Spine.

       40.       Moreover, under the terms of the Agreement, which was set to last three years,

Lewers and Kessler could terminate the Agreement only upon providing notice of a material

breach of the Agreement by Stryker Spine which Stryker Spine failed to cure within thirty (30)

days’ notice of the alleged material breach.

   D. KG’s Sales Representatives

       41.       Lewers and Kessler, as Principals of KG, contracted with sales representatives to

assist them in the marketing and sale of Stryker Spine products and services.

       42.       In 2019, Caron, Hyland, Hogge and Triglia contracted with KG to service Stryker

Spine’s customers in the North Florida Region.

       43.       Per the Agreement, KG, Lewers and Kessler agreed that they would obtain

agreements with each retained sales representatives that would include post-employment

restrictive covenants that would be the same or similar to their post-employment restrictions with

Stryker Spine.




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       44.     To that end, each KG sales representative signed an agreement through which

he/she agreed that for one (1) year after the termination of their engagement as a KG sales

representative, he/she would not “directly or indirectly manufacture, sell, service, offer for sale,

or assist any other person or entity in manufacturing, selling, servicing or providing competitive

products to customers (including, but not limited to, surgeons, and affiliated hospitals and

clinics) of [ ] Stryker Spine that Representative learned of, serviced, solicited, sold to, or learned

confidential information about or were within the same branch, territory or agency within which

Representative worked during the two years prior to the date on which the Engagement Period

ends.” (Agreement, Schedule E, 1.1).

       45.     By executing the Agreement, each KG sales representative agreed that it is

reasonable and necessary for the protection of the goodwill and continued business of Stryker

Spine that he/she abide by the covenants and agreements contained in the Agreement during and

following his/her employment with Stryker Spine, and that Stryker Spine would suffer

irreparable injury, loss, harm and damage if he/she engaged in conduct prohibited in the

Agreement.

E. Lewers’ and Kessler’s Unlawful Termination of Agreement

       46.     On August 31, 2020, Lewers and Kessler, on behalf of themselves and KG,

terminated the Agreement with Stryker Spine. The termination was without cause, without

notice and in breach of the Agreement.

       47.     Lewers and Kessler terminated the Agreement to begin working for Alphatec, a

direct competitor of Stryker Spine.




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       48.       Upon providing notice of their termination of the Agreement, Kessler told Stryker

Spine representatives that he and Lewers “are going to follow the rules” and will “not be in any

fusion cases.”

       49.       This representation quickly turned-out to be false.

F. Defendants’ Interference With Howmedica’s Business Contracts

       50.       Alphatec sells products and services that compete with Stryker Spine’s products

and services. Therefore, Alphatec’s products are Competitive Products as that term is defined in

the Agreement.

       51.       The services that KG, Lewers, Kessler, Caron, Hogge and Hyland are performing

on Alphatec’s behalf violate the post-contractual non-compete obligations that they owe to

Stryker Spine, and pose a significant risk that Stryker Spine’s Confidential Information has been

or will be used to aid in or create unfair competition favoring Alphatec.

       52.       Likewise, the services that Triglia is performing on behalf of various Stryker

competitors violate the post-contractual non-compete obligations that he owes to Stryker Spine

as a former employee of KG.

       53.       Specifically, Lewers and Kessler and the KG Sales Representatives are selling

Competitive Products, soliciting Stryker Spine’s customers and converting them to clients of

Alphatec or other competitors, all in violation of their post-contractual non-competition

obligations to Stryker Spine.

G. Lewers’ and Kessler’s Unlawful Post-Contractual Conduct

       54.       Lewers and Kessler have knowingly and willfully solicited Caron, Hogge and

Hyland away from Stryker Spine and interfered with Stryker Spine’s customer relationships.




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       55.       Shortly after KG and the KG Individual Defendants’ terminated the Agreement,

Caron, Hyland and Hogge began selling Alphatec products. Triglia began selling competitive

products for other Stryker Spine competitors.

       56.       Lewers, Kessler, Caron, Hogge and Hyland are now servicing Stryker Spine

customers in spine fusion cases on behalf of Alphatec and using Alphatec products in place of

Stryker Spine products.

       57.       In addition, one week after Lewers and Kessler terminated the Agreement,

Stryker Spine’s largest hospital client in the North Florida Region requested a refund in

connection with a Stryker product that was regularly used over the prior twelve month period.

The product pricing for this client had been previously set by Lewers and Kessler, who have now

been seen working at the hospital on behalf of Alphatec.

   H. Stryker Spine Has Lost Business to Alphatec

       58.       Since Alphatec hired or contracted with Lewers, Kessler, Caron, Hogge and

Hyland, Stryker Spine has lost significant business to Alphatec, which is a direct result of the

Defendants’ unlawful actions.

       59.       Numerous surgeons in the North Florida Region who regularly scheduled surgical

procedures using Stryker Spine products in the past, have not scheduled or have significantly

reduced their use of Stryker Spine products in surgical procedures since KG, the KG Individual

Defendants and the KG Sales Representatives breached the Agreement and their obligations to

Stryker Spine.

       60.       Spinal sales to Stryker Spine’s largest hospital client in the North Florida Region

have decreased by more than 90 percent since August 31, 2020.




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       61.     Stryker Spine also has lost significant business as a result of the disruption to the

North Florida region resulting from the sudden and simultaneous disassociation of the KG Sales

Representatives, all of whom are now associated with Alphatec and/or selling competitive

products.

   I. Stryker Spine Has Been Harmed By Lewers’ and Kessler’s Failure to Repay
      Certain Bonuses

       62.     In May 2020, in light of the negative impact COVID-19 had on the non-emergent

medical device industry, Stryker Spine offered and paid to KG, including Lewers and Kessler as

its principals, a loan in the amount of $60,000.00, to ease the financial burden caused by the

pandemic (“Financial Support Loan”).

       63.     In a contract signed by Lewers and Kessler, both individually and on behalf of

KG, the KG Individual Defendants and KG agreed to “repay to Stryker” the “total” Financial

Support Loan through either financial assistance received from the government’s Small Business

Administration’s Paycheck Protection Program or through the Individual Defendants’

commissions.

       64.     To date, only $5,000 of the $60,000 owed to Stryker Spine has been repaid.

                                   COUNT I
               BREACH OF CONTRACT – DISTRIBUTOR AGREEMENT
                         Against Lewers, Kessler and KG

       65.     Stryker Spine hereby repeats, realleges, and incorporates by reference the

allegations which are contained in the preceding paragraphs.

       66.     The Agreement that Lewers, Kessler and KG entered into with Stryker Spine was

for three years and the only grounds upon which Lewers, Kessler and/or KG could terminate the

Agreement was upon an uncured material breach.




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       67.     The Agreement also contains valid and enforceable post-contractual obligations

that KG, Lewers, Kessler and other sales representatives retained by KG owe to Stryker Spine.

       68.     The post-contractual activity restrictions contained in the Agreement are

reasonable in both scope and duration, and are necessary to safeguard Stryker Spine’s protectable

interests in its confidential business information, as well as its business relationships and

goodwill.

       69.     Stryker Spine performed all of the duties and obligations it agreed to and owed to

Lewers, Kessler and KG under the Agreement.

       70.     Nevertheless, Lewers, Kessler and KG unlawfully terminated the Agreement prior

to the completion of the three year term.

       71.     In addition, Lewers, Kessler and KG breached, and continue to breach, their post-

contractual obligations owing to Stryker Spine under the Agreement by: providing services to a

direct competitor; soliciting, inducing, or influencing, or attempting to solicit, induce or

influence, persons engaged as an independent contractor or agent of Stryker Spine to terminate

their business relationship with Stryker Spine; soliciting, attempting to solicit, or in any other

way, attempting to influence Stryker Spine’s customers to alter or terminate their business

relationship with Stryker Spine; and/or misusing Stryker Spine’s confidential and proprietary

information.

       72.     As a result of these breaches of contract, Stryker Spine has been and will

continued to be damaged in the form of lost or negatively impacted customer relationships, lost

value of its confidential and proprietary information, and financially in the form of lost revenue

and profits. Stryker Spine seeks injunctive relief, actual, incidental, compensatory, punitive and

consequential damages, along with its reasonable attorneys’ fees and interest.




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                                    COUNT II
                    BREACH OF CONTRACT – LOAN REPAYMENT
                          Against Lewers, Kessler and KG

       73.     Stryker Spine hereby repeats, realleges, and incorporates by reference the

allegations which are contained in the preceding paragraphs.

       74.     Lewers, Kessler and KG entered into a contract with Stryker Spine regarding the

Financial Support Loan KG received in May 2020.

       75.     Stryker Spine performed all of the duties and obligations it agreed to and owed to

Lewers, Kessler and KG in connection with the Financial Support Loan.

       76.     Per the terms of that agreement, Lewers, Kessler and KG owe Stryker Spine

$55,000 as a result of the termination of their distributor Agreement prior to repayment of the

Financial Support Loan.

       77.     Lewers’, Kessler’s and KG’s failure to repay the Financial Support Loan is a

breach of their obligations under the parties’ agreement.

       78.     As a result of Lewers’, Kessler’s and KG’s breach of contract, Stryker Spine has

been damaged. Stryker Spine seeks actual, incidental, compensatory, and consequential

damages, along with its reasonable attorneys’ fees and interest.

                                        COUNT III
                                BREACH OF CONTRACT
                              Against Caron, Hogge and Hyland

       79.     Stryker Spine hereby repeats, realleges, and incorporates by reference the

allegations which are contained in the preceding paragraphs.

       80.     The Sales Representative Agreement that Caron, Hogge and Hyland entered into

when they became KG sales representatives contains valid and enforceable post-contractual

obligations that they owe to Stryker Spine.




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       81.     The post-contractual activity restrictions contained in the Sales Representative

Agreements are reasonable in both scope and duration, and are necessary to safeguard Stryker

Spine’s protectable interests in its confidential business information, as well as its business

relationships and goodwill.

       82.     Stryker Spine performed all of the duties and obligations it agreed to and owed to

KG under the Distributor Agreement, from which the KG Sales Representative Agreements were

derived.

       83.     Nevertheless, Caron, Hogge and Hyland unlawfully breached, and continue to

breach, their post-contractual obligations owing to Stryker Spine under the Sales Representative

Agreements by: providing services to Alphatec; soliciting, attempting to solicit, or in any other

way, attempting to influence Stryker Spine’s customers to alter or terminate their business

relationship with Stryker Spine; misusing Stryker Spine’s confidential and proprietary

information; and/or by failing or refusing to return all of Stryker Spine’s property upon their

resignation.

       84.     As a result of these breaches of contract, Stryker Spine has been and will

continued to be damaged in the form of lost or negatively impacted customer relationships, lost

value of its confidential and proprietary information, and financially in the form of lost revenue

and profits. Stryker Spine seeks injunctive relief, actual, incidental, compensatory, punitive and

consequential damages, along with its reasonable attorneys’ fees and interest.

                                       COUNT IV
                                     CONVERSION
                   Against KG, Lewers, Kessler, Caron, Hogge and Hyland

       85.     Stryker Spine hereby repeats, realleges, and incorporates by reference the

allegations which are contained in the preceding paragraphs.




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       86.     KG, its Principals and Sales Representatives, including Lewers, Kessler, Hogge,

Caron and Hyland, were provided with Stryker Spine products and instruments to service Stryker

Spine customers, surgeons and hospitals in the North Florida Region.

       87.     As explicitly stated in the Agreements executed by Lewers, Kessler, Caron,

Hogge and Hyland, these products and instruments were and remained at all times owned by

Stryker Spine until sold or delivered, as applicable, to customers.

       88.     Following Lewers, Kessler, Caron, Hogge and Hyland’s departure, well over $1

million dollars in Stryker Spine products and instruments have not been returned.

       89.     Despite repeated requests, all of the products and instruments have not been

returned to Stryker Spine.

       90.     Upon information and belief, after the termination of their Agreements and

without Stryker Spine’s consent, Lewers, Kessler, Caron, Hogge and Hyland have been using

Stryker Spine instruments during Alphatec spinal surgeries.

       91.     As a result of Lewers’, Kessler’s, Caron’s, Hogge’s and Hyland’s unlawful

conversion of Stryker Spine property, Stryker Spine has been damaged. Stryker Spine seeks

injunctive relief, actual, incidental, compensatory, punitive and consequential damages, along

with its reasonable attorneys’ fees and interest.


                                    COUNT V
                     TORTIOUS INTERFERENCE WITH CONTRACT
                           Against KG, Lewers and Kessler

       92.     Stryker Spine hereby repeats, realleges, and incorporates by reference the

allegations which are contained in the preceding paragraphs.




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       93.     As set forth above, the Representative Service Agreements executed by Caron,

Triglia, Hogge and Hyland are valid and enforceable contracts which contain reasonable post-

contractual obligations owing to Stryker Spine.

       94.     KG, Lewers and Kessler were fully aware of the Sales Representative Agreements

executed by Caron, Hogge and Hyland. In fact, it was their obligation under the Agreement to

ensure the Sales Representative Agreements were in place for Stryker Spine’s protection and

benefit.

       95.     Despite having knowledge of the post-contractual restrictions imposed by the

Sales Representative Agreements, upon information and belief, KG, Lewers and Kessler

intentionally solicited Caron, Hogge and Hyland to leave Stryker Spine for Alphatec, solicit

Stryker Spine’s customers, unfairly compete against Stryker Spine, and damage Stryker Spine

for the benefit of Alphatec, in violation of their post-contractual obligations.

       96.     Despite having knowledge of the post-contractual restrictions imposed by the

Sales Representative Agreements, upon information and belief, KG, Lewers and Kessler are

allowing Triglia to compete with Stryker Spine.

       97.     As a result of KG’s, Lewers’ and Kessler’s intentional interference, Stryker Spine

has been damaged. Stryker Spine seeks injunctive relief, actual, incidental, compensatory,

punitive and consequential damages, along with its reasonable attorneys’ fees and interest.


                            COUNT VI
  TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE:
                    HOWMEDICA’S CUSTOMERS
                       Against All Defendants

       98.     Stryker Spine hereby repeats, realleges, and incorporates by reference the

allegations which are contained in the preceding paragraphs.




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       99.     Until the events giving rise to this action, Stryker Spine had maintained valid

business relationships with its customers and/or prospective customers in the North Florida

Region.

       100.    Stryker Spine’s relationships generated good will among these customers and

created an expectation of future business. The knowledge Stryker Spine has gained about these

customers and the business terms of these relationships are confidential and proprietary business

information.

       101.    As former Stryker Spine distributors and representatives, Lewers and Kessler,

individually and in their association with KG, as well as the KG Sales Representatives, are and

remain aware of Stryker Spine’s customer relationships, the unique knowledge Stryker Spine

possesses about these customers and the business terms of Stryker’s Spine’s relationships with

these customers.

       102.    KG, the KG Individual Defendants and the KG Sales Representatives have

misappropriated and unlawfully used the information that was acquired as a Stryker distributor

and/or sales representatives to divert business from Stryker to Alphatec, intentionally and

unjustifiably interfering with Stryker Spine’s business relationships.

       103.    Further, by abruptly, and without notice of cause, terminating the Agreement and

then immediately soliciting surgeons and hospitals in the North Florida Region on behalf of

Alphatec, Stryker Spine was denied the opportunity to preserve its relationships with these

surgeons and hospitals without the interference of KG, the KG Individual Defendants and the

KG Sales Representatives.

       104.    As a result of Defendants’ tortious interference with Stryker Spine’s business

relationships with its customers and/or prospective customers, Stryker Spine has been damaged




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and faces irreparable injury. Stryker Spine seeks injunctive relief, actual, incidental,

compensatory, punitive and consequential damages, along with its reasonable attorneys’ fees and

interest.

                                         COUNT VII
                                    UNFAIR COMPETITION
                                     Against All Defendants

        105.     Stryker Spine hereby repeats, realleges, and incorporates by reference the

allegations which are contained in the preceding paragraphs.

        106.     Defendants undertook the foregoing acts of improper solicitation, tortious

interference with Stryker Spine’s contractual agreements and harm to Stryker Spine’s customer

relationships in the North Florida Region in order to gain an unfair competitive advantage over

Stryker Spine.

        107.     Defendants willfully undertook the foregoing acts with knowledge of and

disregard for Stryker Spine’s rights, and with the intention of causing harm to Stryker Spine and

benefiting themselves and Alphatec.

        108.     As a result of Defendants’ actions, Defendants are unfairly competing in the

marketplace for spinal implants, products and services.

        109.     As a result of Defendants’ unfair competition, Stryker Spine has been injured and

faces irreparable injury. Stryker Spine seeks injunctive relief, actual, incidental, compensatory,

punitive and consequential damages, along with its reasonable attorneys’ fees and interest.



                                     PRAYER FOR RELIEF

        WHEREFORE, Stryker Spine seeks judgment in its favor and an Order against

Defendants that grants the following relief:

        A.       Awards Stryker Spine actual, incidental, compensatory, and consequential


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                damages to be proven at trial;

        B.      Awards Stryker Spine its costs and expenses incurred herein, including reasonable
                attorneys’ fees and interest;

        C.      Disgorges all revenues, profits and other sums received by Defendants due to
                their unlawful activity and awards it to Stryker Spine;

        D.      Enters a permanent injunction barring further unlawful behavior during the three
                year term of the Agreement and the one year post-Agreement time period; and

        E.      Awards Stryker Spine such further relief as the Court deems necessary and just.


                                  REQUEST FOR A JURY TRIAL


    Plaintiff, Howmedica Osteonics Corp., by counsel, hereby requests that the above-captioned

matter be set for a jury trial.



Dated: October 12, 2020                          PROSKAUER ROSE LLP



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                                                 subsidiary of Stryker Corp.




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